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                       IN THE UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

IN RE:                                                         CHAPTER 7
Lobosco, Lara Anne
Debtor(s)                                                      CASE NO.: 08:17-bk-10460-RCT
________________________/

                TRUSTEE’S NOTICE OF INTENT TO ABANDON PROPERTY

                                         NOTICE OF OPPORTUNITY TO
                                      OBJECT AND REQUEST FOR HEARING

      Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further
 notice or hearing unless a party in interest files a response within fourteen (14) days from the date set forth on
 the attached proof of service plus an additional three days for service if any party was served by U.S. Mail.

     If you object to the relief requested in this paper, you must file a response with the Clerk of the Court at
 Sam M. Gibbons U.S. Courthouse, 801 North Florida Avenue, Suite 555, Tampa, Florida 33602-3899, and
 serve a copy on the movant’s attorney, Nicole M. Cameron, Esquire, 235 Apollo Beach Blvd., #231, Apollo
 Beach, Florida 33572 and any other appropriate persons within the time allowed. If you file and serve a
 response within the time permitted, the Court will either schedule and notify you of a hearing, or consider the
 response and grant or deny relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not oppose the relief
 requested in the paper, will proceed to consider the paper without further notice or hearing, and may grant the
 relief requested.

Nicole M. Cameron, Trustee, hereby notices the Court and creditors of her intent to abandon

property of the estate as follows:

   1. Debtor(s) filed this Chapter 7 case on Dec 18, 2017.

   2. The Trustee hereby abandons any Estate interest in the following assets:

             a. House – 9 Yale Avenue, Barrington, IL 60010

   3. The potential liability presented by this asset outweighs any benefit that the Estate would

        reap.

   4. Pursuant to Bankruptcy Rule 6007, the proposed abandonment will be deemed approved

        without necessity of a hearing or order, if no objection is filed and served within 14 days

        after the date of service of this notice.
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       WHEREFORE, the Trustee has determined that abandonment of the asset(s) is in the best

interest of the Debtor(s), their creditors and the Estate.

                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Trustee’s Notice of
Intent to Abandon Asset of the Estate has been sent by U.S. Mail or the Court’s CM/ECF system
to Asst. U.S. Trustee, 501 E. Polk St., #1200, Tampa, FL 33602; Lara Anne Lobosco, 601
BALSAM APPLE DR, VENICE, FL 34293, LAURIE L BLANTON, Esq., Blanton Law, P.A.,
1100 C. South Tamiami Trail, Venice, FL 34285 and all interested parties on the matrix on April
26, 2018.

                                                       __/s/ Nicole M. Cameron____________
                                                       NICOLE M. CAMERON, TRUSTEE
                                                       235 Apollo Beach Blvd., #231
                                                       Apollo Beach, FL 33572
                                                       Phone: (813) 645-8787
                                                       Fax: (866) 674-0164
                                                       Florida Bar No.: 0036860
